                                        Case 4:23-cr-00269-JSW           Document 408         Filed 03/21/25      Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     UNITED STATES OF AMERICA,                            Case No. 23-cr-00269-JSW-3
                                                         Plaintiff,
                                   8
                                                                                              ORDER TO SEKI, NISHIMURA, AND
                                                  v.                                          WATASE, PLC; WARNING TO
                                   9
                                                                                              ATTORNEY NICOLE LOPES ABOUT
                                  10     DEVON CHRISTOPHER WENGER,                            EFFECT OF IGNORING OSC;
                                                                                              WARNING REGARDING CONTEMPT
                                                         Defendant.
                                  11                                                          Re: Dkt. No. 406
                                  12
Northern District of California
 United States District Court




                                  13          The Court is in receipt of the Declaration of Bill H. Seki re: Orders and Deadlines. (Dkt.
                                  14   No. 406.) In his declaration, Mr. Seki relays that Attorney Nicole Lopes does not intend to
                                  15   comply with the Court’s orders requiring a joint status report as to the mistrial, (Dkt. No. 393), a
                                  16   showing of cause why the Court should maintain the mistrial order and related trial transcript
                                  17   under seal, (Dkt. No. 387), or a showing of cause as to her competence to represent Defendant
                                  18   Devon Wenger in the retrial, (Dkt. No. 404), because Ms. Lopes is on “protected medical leave.”
                                  19   (Dkt. No. 406, ¶ 6.)
                                  20          The Court does not recognize Ms. Lopes’ “protected” leave. Ms. Lopes is counsel of
                                  21   record for Defendant Wenger unless and until the Court releases her from her duties. She is
                                  22   required to fully comply with Court orders.
                                  23          If Ms. Lopes is unable to respond to the Court’s orders due to her health, it is the
                                  24   responsibility of Seki, Nishimura, & Watase, PLC to comply with the Court’s orders. Ms. Lopes
                                  25   is an associate at the firm and the firm is listed as counsel of record.
                                  26          The Court understands, from the Government’s filings, that Ms. Lopes has continued to
                                  27   meet and confer with the Government, including communicating a demand for speedy trial under
                                  28
                                        Case 4:23-cr-00269-JSW           Document 408        Filed 03/21/25     Page 2 of 2




                                   1   the Speedy Trial Act. (See Dkt. Nos. 402, 407.) These communications are the basis for the

                                   2   hearings on Tuesday. The firm is responsible for Ms. Lopes’ conduct and for providing effective

                                   3   counsel to Defendant Wenger, including but not limited to ensuring an attorney is present and

                                   4   prepared at Tuesday’s hearings.

                                   5          The firm must ensure compliance with the Court’s orders at Docket Numbers 393 and 404.

                                   6   It must ensure that an attorney appears at the hearing on Tuesday, March 25, 2025, at 1:00 p.m.

                                   7   This attorney must be prepared to discuss issues relating to retrial, including exclusion of time

                                   8   under the Speedy Trial Act, selecting a new trial date, and whether the Court should find Ms.

                                   9   Lopes is incompetent to represent Defendant Wenger at the retrial.

                                  10          The Order to Show Cause at Docket Number 387 is directed to Ms. Lopes personally, not

                                  11   to the parties. The Court will interpret a failure to respond as Ms. Lopes’ agreement that the

                                  12   documents should be unsealed, and it will order unsealing forthwith.
Northern District of California
 United States District Court




                                  13          Failure to comply may be punishable by contempt. A declaration of unavailability is

                                  14   not compliance. Ms. Lopes and Seki, Nishimura, and Watase, PLC have not been released

                                  15   as counsel of record by the Court.

                                  16          IT IS SO ORDERED.

                                  17   Dated: March 21, 2025

                                  18                                                    ______________________________________
                                                                                        JEFFREY S. WHITE
                                  19                                                    United States District Judge
                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                                                                         2
